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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                              October 07, 2021
                            SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                HOUSTON DIVISION

                                                   )
 NATIXIS FUNDING CORP.,                            )
                                                   )
                               Plaintiff,          )
                                                   )
                                                   )    C.A. No. 4:19-cv-3078 (KPE)
 v.                                                )    (Adv. Pro. No. 4:18-ap-3409 (DRJ))
                                                   )
 GENON MID-ATLANTIC, LLC,                          )
                                                   )
                               Defendant.          )
                                                   )

                      ORDER ADOPTING
 REPORT AND RECOMMENDATION REGARDING ENTRY OF FINAL JUDGMENT

       Pending before this Court is the Report and Recommendation Regarding Entry of Final

Judgment (Doc. No. 28) (the “Report and Recommendation”) from the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Court”) and Plaintiff Natixis Funding

Corporation’s (“NFC”) Objections to the Bankruptcy Court’s Report and Recommendation (Doc.

No. 36) (the “Objections”). Having considered the Report and Recommendation and NFC’s and

Defendant GenOn Mid-Atlantic, LLC’s (“GenMA”) submissions with respect thereto (Doc. Nos.

36-39, 47, & 50), and after a hearing held on September 28, 2021, it is hereby:

       ORDERED that the Objections are DENIED for the reasons stated on the record at the

September 28, 2021 hearing;

       ORDERED that this Court ADOPTS the Bankruptcy Court’s Report and

Recommendation in its entirety; and

       ORDERED that, pursuant to Federal Rule of Civil Procedure 58(a), final judgment is

hereby ENTERED in favor of GenMA.
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 IT IS SO ORDERED.

                                       6th
 SIGNED at Houston, Texas, on this __________ day of October, 2021.


                                          HON. KEITH P. ELLISON
                                          UNITED STATES DISTRICT JUDGE




                                      2
